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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
                             TRENTON VICINAGE


 NOVO NORDISK INC. and NOVO
 NORDISK PHARMA, INC.,

                      Plaintiffs,

           v.                                     Case No. 3:23-cv-20814-GC-JBD

 XAVIER BECERRA, in his official                  NOTICE OF WITHDRAWAL OF
 capacity as Secretary of the Department          APPEARANCE
 of Health and Human Services, et al.,

                      Defendants.



         Please take notice that Alexander V. Sverdlov, Trial Attorney at the United
  States Department of Justice, Civil Division, Federal Programs Branch, hereby

  withdraws his appearance on behalf of Defendants in this matter pursuant to Local
  Rule 102.1. The undersigned is departing the U.S. Department of Justice and will,
  therefore, no longer be participating in this case. Defendants remain represented by

  other counsel from the U.S. Department of Justice, as reflected on the Court’s docket.
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        Dated: January 17, 2025      Respectfully submitted,

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                                     Principal Deputy Assistant Attorney General

                                     MICHELLE R. BENNETT
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